Case 23-12908-ABA            Doc 18 Filed 06/10/23 Entered 06/11/23 00:19:46                         Desc Imaged
                                  Certificate of Notice Page 1 of 4


     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
     Caption in Compliance with D.N.J. LBR 9004-1
                                                                       Order Filed on June 8, 2023
     DENISE CARLON, ESQUIRE                                            by Clerk
     KML LAW GROUP, P.C.                                               U.S. Bankruptcy Court
                                                                       District of New Jersey
     701 Market Street, Suite 5000
     Philadelphia, PA 19106
     215-627-1322
     dcarlon@kmllawgroup.com
     Attorneys for Secured Creditor: Federal Home
     Loan Mortgage Corporation, as Trustee for the
     benefit of the Freddie Mac Seasoned Loans
     Structured Transaction Trust, Series 2019-
     In Re:                                                  Case No.: 23-12908 ABA
     Kristen D. Domenico                                     Adv. No.:
     Vincent J Domenico                                      Hearing Date: 6/14/2023 @9:00 a.m.
                       Debtors
                                                             Judge: Andrew B. Altenburg


         ORDER RESOLVING SECURED CREDITOR’S OBJECTION TO DEBTOR’S
                             CHAPTER 13 PLAN

    The relief set forth on the following pages, numbered two (2) through two (2) is hereby
    ORDERED




DATED: June 8, 2023
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   Page 2
    Debtors:              Kristen D. Domenico & Vincent J Domenico
    Case No.:             23-12908 ABA
    Caption:              ORDER RESOLVING SECURED CREDITOR’S OBJECTION TO
                          DEBTOR’S CHAPTER 13 PLAN

          This matter having been brought before the Court by KML Law Group, P.C., attorneys for
   Secured Creditor, Federal Home Loan Mortgage Corporation, as Trustee for the benefit of the
   Freddie Mac Seasoned Loans Structured Transaction Trust, Series 2019-1, holder of a mortgage
   on real property located at 370 Pine Road, Hammonton, NJ, 08037, Denise Carlon appearing, by
   way of objection to the confirmation of Debtor’s Chapter 13 Plan, and this Court having considered
   the representations of attorneys for Secured Creditor and Jennifer L. Kearney, Esquire, attorney
   for Debtors, and for good cause having been shown;
          It ORDERED, ADJUDGED and DECREED that Secured Creditor will file a proof of
   claim prior to the proof of claim bar date; and
          It is FURTHER ORDERED, ADJUDGED and DECREED that Debtor shall pay the
   arrearage claim of Secured Creditor in full, when filed; and
          It is FURTHER ORDERED, ADJUDGED and DECREED that Debtor shall make post-
   petition payments in accordance with the terms of the note, mortgage, and notices of payment
   change; and
          It is FURTHER ORDERED, ADJUDGED and DECREED that Debtor reserves his
   right to object to Secured Creditor’s proof of claim and notice of payment change; and
          It is FURTHER ORDERED, ADJUDGED and DECREED that Secured Creditor’s
   objection to confirmation is hereby resolved.
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                                                                United States Bankruptcy Court
                                                                    District of New Jersey
In re:                                                                                                                   Case No. 23-12908-ABA
Vincent J. Domenico                                                                                                      Chapter 13
Kristen D. Domenico
       Debtors
                                                      CERTIFICATE OF NOTICE
District/off: 0312-1                                                    User: admin                                                                 Page 1 of 2
Date Rcvd: Jun 08, 2023                                                 Form ID: pdf903                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                  Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                   regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 10, 2023:
Recip ID                  Recipient Name and Address
db/jdb                  + Vincent J. Domenico, Kristen D. Domenico, 370 Pine Road, Hammonton, NJ 08037-8975

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                        BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                       NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jun 10, 2023                                             Signature:            /s/Gustava Winters




                                    CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 8, 2023 at the address(es) listed below:
Name                                Email Address
Denise E. Carlon
                                    on behalf of Creditor Federal Home Loan Mortgage Corporation as Trustee for the benefit of the Freddie Mac Seasoned Loans
                                    Structured Transaction Trust, Series 2019-1 dcarlon@kmllawgroup.com, bkgroup@kmllawgroup.com

Isabel C. Balboa
                                    ecfmail@standingtrustee.com summarymail@standingtrustee.com

Jennifer L. Kearney
                                    on behalf of Joint Debtor Kristen D. Domenico jkearney@belluccilaw.net
                                    bbellucci@belluccilaw.net,jkearney@belluccilaw.net,kpalermo@belluccilaw.net

Jennifer L. Kearney
                                    on behalf of Debtor Vincent J. Domenico jkearney@belluccilaw.net
                                    bbellucci@belluccilaw.net,jkearney@belluccilaw.net,kpalermo@belluccilaw.net

Sarah K. McCaffery
                                    on behalf of Creditor LVNV Funding LLC ckohn@hoflawgroup.com
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Date Rcvd: Jun 08, 2023                              Form ID: pdf903                   Total Noticed: 1
U.S. Trustee
                          USTPRegion03.NE.ECF@usdoj.gov


TOTAL: 6
